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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      Criminal No.: 16-10343-ADB
                                              )
ALEC BURLAKOFF,                               )
                                              )
               Defendant.                     )


          GOVERNMENT=S MOTION TO SCHEDULE A RULE 11 HEARING

       The United States of America, through the undersigned attorneys, does hereby move to

schedule a hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. In support of

this motion, the government states that the defendant has agreed to plead guilty to the Indictment

filed in this matter. The parties request a hearing on any day between November 28 and November

30, 2018 if convenient for the Court.

                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     United States Attorney

Dated: November 14, 2018                      By:    /s/ Fred M. Wyshak, Jr.
                                                     Fred M. Wyshak, Jr.
                                                     K. Nathaniel Yeager
                                                     David Lazarus
                                                     Assistant U.S. Attorneys


                                CERTIFICATE OF SERVICE
        I, Fred M. Wyshak, Jr. Assistant United States Attorney, do hereby certify that this
document, was filed on the above date through the ECF system which sends copies electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and that paper
copies will be sent to those indicated as non-registered participants on this date.

                                                     /s/ Fred M. Wyshak, Jr.
                                                     Fred M. Wyshak, Jr.
                                                     Assistant U.S. Attorney
